       Case: 22-1475   Document: 19      Page: 1   Filed: 07/18/2022




           IN THE UNITED STATES COURT OF APPEALS
                   FOR THE FEDERAL CIRCUIT

                              2022-1475

                         TIMOTHY MOORE,

                          Plaintiff-Appellant,

                                   v.

                          UNITED STATES

                         Defendant-Appellee.

        On Appeal from the United States Court of Federal Claims
       in No. 1:21-CV-01931-CFL, Senior Judge Charles F. Lettow

 CORRECTED RESPONSE BRIEF FOR DEFENDANT-APPELLEE UNITED
 STATES
                            BRIAN M. BOYNTON
                            Principal Deputy Assistant
                            Attorney General

                                        PATRICIA M. McCARTHY
                                        Director

                                        REGINALD T. BLADES, JR
                                        Assistant Director

                                        RAFIQUE O. ANDERSON
                                        Trial Attorney
                                        Commercial Litigation Branch
                                        Civil Division, Department of
                                        Justice
                                        P.O. Box 480, Ben Franklin Station
                                        Washington, DC 20044

July 18, 2022                           Attorneys for Defendant
                Case: 22-1475                Document: 19              Page: 2         Filed: 07/18/2022




                                             TABLE OF CONTENTS

                                                                                                   PAGE
TABLE OF CONTENTS ........................................................................................... i

TABLE OF AUTHORITIES ................................................................................... iii

STATEMENT OF RELATED CASES .....................................................................v

STATEMENT OF THE ISSUE .................................................................................1

STATEMENT OF THE CASE AND COURSE OF PROCEEDINGS BELOW .....1

  I.        Nature Of The Case .......................................................................................1

  II.       Factual Background .......................................................................................1

  III.      Course Of Proceedings And Disposition Below ...........................................3

SUMMARY OF THE ARGUMENT ........................................................................4

ARGUMENT .............................................................................................................6

  I.        Standard Of Review ......................................................................................6

  II.       Mr. Moore’s Complaint Fails To State A Claim Because He Acknowledges

            In His Complaint That The Wage Difference Was Not Because Of His Sex

            .......................................................................................................................7

       A. Equal Pay Act Standard ................................................................................7

       B. Standard For Establishing An EPA Case ......................................................7

       D. The Court’s Decision In Yant Does Not Affect The Dismissal Of Mr.

            Moore’s Complaint .....................................................................................11



                                                                i
               Case: 22-1475            Document: 19           Page: 3       Filed: 07/18/2022




     E. Department of Labor And Equal Employment Opportunity Commission

           Regulations Do Not Represent Binding Or Persuasive Authority..............13

  III.     Mr. Moore Was Not Entitled To Discovery................................................14

CONCLUSION ........................................................................................................15

CERTIFICATE OF SERVICE ................................................................................17

CERTIFICATE OF COMPLIANCE .......................................................................18




                                                         ii
                Case: 22-1475              Document: 19             Page: 4         Filed: 07/18/2022




                                         TABLE OF AUTHORITIES

Cases                                                                                                                 Page:

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) ................................................. 7, 10, 14

Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007) .........................................7, 15

Cary v. United States, 552 F.3d 1373, 1376 (Fed. Cir. 2009) ...................................7

Corning Glass Works v. Brennan, 417 U.S. 188, 195 (1974) ...................................8

Hearts Bluff Game Ranch, Inc. v. United States, 669 F.3d 1326, 1328 (Fed. Cir.

  2012) .......................................................................................................................6

Mercier v. United States, 786 F.3d 971, 980 (Fed. Cir. 2015) ..................................7

Molden v. United States, 11 Cl. Ct. 604, 609 (1987) .................................................7

Moore v. United States, 157 Fed. Cl. 747 (2022) ........................................... 1, 4, 12

Yant v. United States, 588 F.3d 1369 (Fed. Cir. 2009), cert. den., 562 U.S. 827

  (2010) ....................................................................................................................11

Statutes

29 U.S.C. § 201 ........................................................................................................14

29 U.S.C. § 203(e)(2) ...........................................................................................7, 14

29 U.S.C. §§ 204(f), ................................................................................................14

29 U.S.C. § 206(d) ........................................................................................ 1, 4, 8, 9

42 U.S.C. § 2000e–5(f)(3) .......................................................................................14



                                                              iii
                Case: 22-1475             Document: 19            Page: 5        Filed: 07/18/2022




Other Authorities

Fed. Cir. R. 28(b) .......................................................................................................1




                                                            iv
           Case: 22-1475      Document: 19     Page: 6    Filed: 07/18/2022




                       STATEMENT OF RELATED CASES

      Pursuant to Federal Circuit Rule 47.5, defendant-appellee’s counsel states

that he is unaware of any other appeal in or from this action that previously was

before this Court or any other appellate court under the same or similar title.

Defendant-appellee’s counsel further states that he is unaware of any case pending

in this Court or any other court that may directly affect or be directly affect by this

court’s decision in this appeal.




                                           v
            Case: 22-1475     Document: 19    Page: 7    Filed: 07/18/2022




                            STATEMENT OF THE ISSUE1

        Whether the trial court correctly dismissed Mr. Moore’s complaint for

failure to state a claim because the complaint admits that the wage differences

about which he complains were not based upon sex, and therefore, the facts alleged

in the complaint fail to state a claim for relief pursuant to the Equal Pay Act (EPA)

29 U.S.C. § 206(d).

      STATEMENT OF THE CASE AND COURSE OF PROCEEDINGS BELOW

I.      Nature Of The Case

        Mr. Moore appeals the Court of Federal Claims judgment in Moore v.

United States, 157 Fed. Cl. 747 (2022) Appx022; dismissing Mr. Moore’s

complaint for failure to state a claim upon which relief may be granted. Appx019.

II.     Factual Background

        In 2014, pursuant to an agreement with the union, the Securities and

Exchange Commission (the agency) created a pay transition program (PTP) with a

mission to provide all SEC staff employees with credit for relevant and

specialized work experience prior to their employment with the agency.

Appx002-003 ¶¶ 5-6. The PTP required employees who desired to be considered

for pay

 1
   Pursuant to Rule 28(b) of the Rules of Practice for the United States Court of
Appeals for the Federal Circuit, we include our own statement of the issue and
subsequent sections because we disagree with those sections included by Mr.
Moore. Fed. Cir. R. 28(b).
                                          1
           Case: 22-1475     Document: 19     Page: 8   Filed: 07/18/2022




transition under the program to apply. Appx003 ¶ 6. Among those who applied

were Mr. Moore’s alleged comparators, Ms. Christine Curley and Ms. Katherine

Monahan. Id. at ¶ 7. Mr. Moore alleges that he, Ms. Curley, and Ms. Monahan

perform the same or similar functions and that their work requires equivalent skill,

knowledge, ability, and effort. Appx003 ¶ 11.

      Ms. Curley and Ms. Monahan timely applied for the PTP during the open

season for the submission of applications–September 14, 2014, through October

14, 2014. Id. ¶ 6. Mr. Moore did not apply. Id. ¶ 8. Pursuant to the PTP and

based upon their respective timely applications, Ms. Curley’s and Ms. Monahan’s

wages were recalibrated, and since June 2015, they have been compensated at a

higher rate than Mr. Moore. Appx003 ¶¶ 9-10.

      Mr. Moore contends that 10 other agency employees were permitted to

apply for the PTP in November 2014 and December 2014, two months after the

application deadline. Appx005 ¶ 14. The agency dissolved the program at the

conclusion of 2014. Appx013. Mr. Moore alleges that he attempted to apply for

the PTP in August and September of 2016, almost two years after the program

ceased. The agency denied his request. Appx005 ¶ 14.

      Additionally, Mr. Moore alleged that he should have been included in the

PTP because “[t]he SEC personnel who reviewed Pay Transition applicants [sic]

included SEC’s personnel director and managers of the applicants . . . [who] would


                                          2
           Case: 22-1475     Document: 19     Page: 9   Filed: 07/18/2022




have been familiar with [Mr. Moore’s] position qualifications, performance, and

experience[.]” Appx004 ¶ 13.

III.   Course Of Proceedings And Disposition Below

       Mr. Moore filed a complaint in the Court of Federal Claims on September

30, 2021. In his complaint, he alleges that he is entitled to have his wages adjusted

because: (1) Ms. Curley and Ms. Monahan perform the same or similar job and

receive higher wages; and (2) the agency allowed 10 people to apply to enter the

PTP after the deadline for applications had expired. Appx005-006 ¶¶ 14, 18.

       Mr. Moore states in his complaint that: (1) the PTP was open to all agency

employees who applied, Appx002-Appx003 ¶¶ 5-6; (2) he did not apply for the

PTP by the October 14, 2014 deadline, Appx003 ¶ 8; (3) he did not apply by

December 2014, Appx005 ¶ 14, or the date that allegedly 10 people were admitted

to the PTP and before the program was dissolved, Id.; and (4) that Ms. Curley and

Ms. Monahan received increased wages because of the recalibration pursuant to

the PTP. Appx003 ¶¶ 4-5, 7, 9-10.

       One January 27, 2022, the Court of Federal Claims granted the United

States’ motion to dismiss Mr. Moore’s complaint. Appx024. The court held that

Mr. Moore had not stated a claim that an alleged wage disparity was due to sex

discrimination. Appx020. The trial court recognized that the complaint did “not

claim that the difference in wages for equal work [was] the result of past or present


                                          3
           Case: 22-1475     Document: 19      Page: 10   Filed: 07/18/2022




discrimination based on sex.” Id. The Court later emphasized that the difference

in wages resulted from the PTP, which “applied to all SEC staff” and the PTP was

“devoid of any sex-based discrimination.” Id. Additionally, the Court concluded

that because “the complaint affirmatively acknowledge[d] that no sex-based

discrimination caused the difference in wage between Mr. Moore and the two

named female comparators, plaintiff [did] not state a . . . violation of 29 U.S.C.

§ 206(d)(1).” Moore, 157 Fed. Cl. at 750; Appx005 ¶¶ 7-9. Finally, the Court

found it unnecessary to reach a conclusion on whether Mr. Moore’s claim

exceeded the EPA statute of limitations. Id.

                        SUMMARY OF THE ARGUMENT

      The Court of Federal Claims correctly dismissed Mr. Moore’s complaint

because it fails to state a claim on which relief could be granted. Specifically, in

his complaint, Mr. Moore acknowledges that the reason why the alleged female

comparators received higher salaries had nothing to do with gender/sex. He thus

fails to claim that the differences between his wage and the wages of the alleged

female comparators was “based on sex.” Appx020. Moreover, Mr. Moore’s

complaint also fails because: (1) Ms. Monahan and Ms. Curley timely applied to

the PTP, which was open to all SEC employees with an open enrollment season of

September 14, 2014, to October 14, 2014, and Mr. Moore did not apply during that

open season; and (2) he fails to advance any facts that, if proven, would show that


                                          4
           Case: 22-1475     Document: 19     Page: 11    Filed: 07/18/2022




he attempted to participate in the PTP by December 2014, the latest date for

applicants to participate in the PTP and the conclusion of the program. Appx002-

Appx003.

      Therefore, it is not plausible that the agency could have violated the EPA.

This conclusion is supported by the facts, as alleged in the complaint, that: (1) the

PTP applied the same rules to all SEC employees who applied for consideration

within the open season; (2) Mr. Moore failed to apply during that time; and (3) he

raised the issue of a wage disparity only after he became aware that the wages of

the two alleged female comparators was raised based on their participation in the

PTP and not because of their sex/gender. Appx003 ¶¶ 6, 8; Appx005 ¶ 14.

      Thus, as alleged in the complaint, Mr. Moore does not state that his receipt

of a lower wage than his alleged female comparators was because of his

sex/gender. Rather, he takes issue with the fact that his wages were lower than his

alleged female comparators because he declined to apply to participate in the PTP

until well after the time to apply had expired and the program had closed, and the

agency denied his untimely request to participate. Appx005 ¶ 14. Not only do

these facts not establish an EPA claim, but they also directly contradict the

plausibility of an EPA claim. Thus, it is apparent that Mr. Moore’s complaint that

the agency violated the EPA is misguided because his failure to apply for entry

into the PTP, and not his sex/gender, is the true reason for the wage gap. Even if


                                          5
           Case: 22-1475      Document: 19     Page: 12    Filed: 07/18/2022




he had alleged that the agency’s cessation of the program was a violation of his

rights under the EPA, he failed to meet even the agency’s extended deadline

afforded to others. Appx005 ¶ 14.

                                    ARGUMENT

I. Standard Of Review

      This Court “review[s] de novo the Court of Federal Claims’ dismissal of a

complaint for failure to state a claim upon which relief may be granted.” Hearts

Bluff Game Ranch, Inc. v. United States, 669 F.3d 1326, 1328 (Fed. Cir. 2012)

(citing Mercier v. United States, 786 F.3d 971, 980 (Fed. Cir. 2015)). “To avoid

dismissal, a complaint must allege facts ‘plausibly suggesting (not merely

consistent with)’ a showing of entitlement to relief.” Cary v. United States, 552

F.3d 1373, 1376 (Fed. Cir. 2009) (quoting Bell Atlantic Corp. v. Twombly, 550

U.S. 544 (2007)).

      A claim has plausibility when the plaintiff pleads factual content that allows

the Court to draw the reasonable inference that the defendant is liable for the

misconduct alleged. Bell Atl., 550 U.S. at 556. Stated another way, the complaint

must contain sufficient factual matter, accepted as true, to “raise a right of relief

above the speculative level.” Id. at 555; see Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009). Thus, “where the well-pleaded facts do not permit the court to infer more

than the mere possibility of misconduct, the complaint has alleged — but it has not


                                           6
           Case: 22-1475     Document: 19      Page: 13   Filed: 07/18/2022




shown — that the pleader is entitled to relief.” Id. at 679 (internal citation and

alteration omitted).

II.   Mr. Moore’s Complaint Fails To State A Claim Because He Acknowledges
      In His Complaint That The Wage Difference Was Not Because Of His Sex

      A. Equal Pay Act Standard

      The Equal Pay Act was enacted in 1963, as an amendment to the Fair Labor

Standards Act, and was extended from private industry to the Federal Government

in 1974. 29 U.S.C. §§ 201, 203(e)(2); 204(f); Molden v. United States, 11 Cl. Ct.

604, 609 (1987). The EPA provides:

          No employer . . . shall discriminate . . . between employees on the
          basis of sex by paying wages to employees . . . at a rate less than
          the rate at which he pays wages to employees of the opposite sex
          . . . for equal work on jobs the performance of which requires
          equal skill, effort, and responsibility, and which are performed
          under similar working conditions . . . .

29 U.S.C. § 206(d)(1).

      B. Standard For Establishing An EPA Case
      If a plaintiff shows that employees of the opposite sex are paid different

wages for performing equal work, or work that is of “substantively equal skill,

effort, and responsibility, under similar working conditions,” Corning Glass Works

v. Brennan, 417 U.S. 188, 195 (1974), then the burden shifts to the employer to

prove one of the four affirmative defenses: (1) a seniority system; (2) a merit

system; (3) a system which measures earnings by quantity or quality of production;



                                           7
           Case: 22-1475     Document: 19     Page: 14    Filed: 07/18/2022




or (4) a differential based upon any other factor other than sex. 29 U.S.C.

§ 206(d)(1).

      C. Mr. Moore Has Failed To Advance Any Facts Supporting That The
         Wage Differences Were Based On Sex

      Allegations similar to Mr. Moore’s, when the reason for a wage differential

is not based on sex, fail to meet the required criteria to support an EPA violation.

      Mr. Moore alleges that the agency violated the EPA because Ms. Monahan

and Ms. Curley receive higher wages for performing the same or similar job duties

as a result of having their wage recalibrated by the PTP. Appx003 ¶¶ 9, 10, 15.

However, Mr. Moore failed to apply for the same PTP program that was open to all

agency employees and ultimately resulted in increased wages for program

participants, including Ms. Monahan and Ms. Curley. Appx003 ¶ 8. Therefore,

his failure to receive a salary recalibration could not have been based on his sex,

nor does he seem to believe that it was. Id. ¶¶ 7-8.

      Moreover, Mr. Moore provides no facts that Ms. Monahan and Ms. Curley

received increased wages merely because they were female, or that he did not

receive a higher wage because he is male. See Appx001-Appx008. Mr. Moore’s

complaint states that the reason that Ms. Monahan and Ms. Curley received

increased wages when they did was because of “pay transition.” Appx003 ¶¶ 9-10.

In other words, Mr. Moore’s allegations that “pay transition” was the reason for the

difference between his wages and those of Ms. Monahan and Ms. Curley does not
                                          8
          Case: 22-1475      Document: 19    Page: 15    Filed: 07/18/2022




satisfy the EPA’s baseline requirement: that a plaintiff must show that the wage

difference, or an opportunity for wage recalibration, be based on his sex/gender.

See 29 U.S.C. § 206(d)(1).

      Although Mr. Moore alleges that similarly situated female employees

received a higher wage than his wage, his only factual allegation against the

agency is that, by adopting a wage analysis program (the PTP) that evaluated

employees to determine whether they should receive a higher wage, similarly

situated female employees who applied for the PTP received a higher wage.

Appx003-004 ¶¶ 5-11. Indeed, all the complaint plausibly suggests is that the

agency increased the wages of similarly situated employees who applied for the

PTP, and did not increase Mr. Moore’s wages because he did not apply. However,

Mr. Moore does not suggest, nor could he, that employees who applied for the PTP

received higher wages because of their sex/gender.

      He does not, and cannot, allege that the PTP accepted only female

employees, or provided preferential treatment, such as an extended deadline, for

female applications, to nudge his EPA claim across the line from conceivable to

plausible.2 See Iqbal, 556 U.S. at 678, 682 (“a claim has facial plausibility when



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    Mr. Moore alleges only that he was not permitted to participate in the PTP
after the December 2014 deadline, Appx002-003 ¶¶ 5-6; and his alleged female
comparators received higher wages because of the pay transition program.
Appx003 ¶¶ 6-10.
                                         9
           Case: 22-1475      Document: 19      Page: 16   Filed: 07/18/2022




the pleaded factual content allows the court to draw the reasonable inference that

the defendant is liable for the misconduct alleged.”). Thus, his claim fails to state a

viable EPA violation.

       Neither does Mr. Moore allege that the PTP calculated a lower wage for him

based on his sex/gender when the agency recalibrated the salaries of employees

who were admitted into the program. See Appx001-008.            Mr. Moore’s

complaint states that he did not meet the deadline to apply for the PTP,

Appx002-003 ¶¶ 5-6; and that the PTP was a gender neutral program.

Appx002-004; App. Br. at 3-4. Further, the complaint does not allege that the PTP

took the sex of the participants into consideration at all in its salary recalibration

formula or process. Appx001-008. Rather, he simply takes issue with the

agency’s decision to deny him the opportunity to apply to the PTP two years after

the program had closed and disbanded. Appx005 ¶ 14; App. Br. at 4.

       Moreover, Mr. Moore does not allege that the female comparators were

unjustifiably permitted to join the PTP, which led to the wage difference, or that he

was not allowed to participate because of his sex. Appx003 ¶ 7. Altogether, Mr.

Moore’s allegations cannot establish a plausible case of an EPA violation because

none of the events that he claims violated the EPA have anything to do with his or

his alleged comparators’ sex/gender, which is an elemental requirement of the

statute.


                                           10
           Case: 22-1475     Document: 19      Page: 17   Filed: 07/18/2022




      D. The Court’s Decision In Yant Does Not Affect The Dismissal Of Mr.
         Moore’s Complaint
      Although the trial court relied on Yant v. United States, 588 F.3d 1369 (Fed.

Cir. 2009), cert. den., 562 U.S. 827 (2010), the trial court did not need to apply

Yant in its decision to dismiss Mr. Moore’s complaint.

      The issue in Yant involved two mixed-gender groups where: (1) different

wages were paid based on whether they were covered by the national or regional

wage scale; (2) both male and female employees encumbered the same position;

(3) some male employees received higher wages than female employees, and vice

versa; and (4) both male and female employees alleged sex/gender discrimination.

Id. This Court concluded that the plaintiffs failed to state a claim because merely

relying on the gender ratios of the two groups of mixed gender employees did not

state a claim the wage differentials were based on sex. Id. at 1374.

      On the other hand, here: (1) the agency created a PTP to adjust the wages of

all agency employees who applied to participate through a review of their work

experience; (2) Mr. Moore failed to apply to participate in the PTP during its open

application period; (3) the alleged comparators timely applied to participate during

the PTP’s open period; and (4) the trial court concluded that the PTP was “devoid

of any sex-based discrimination.” Moore, 157 Fed. Cl. at 750. Thus, this appeal is

factually different from Yant. This appeal does not involve two mixed-gender

groups nor does it involve claims of gender discrimination by both men and

                                          11
           Case: 22-1475     Document: 19      Page: 18   Filed: 07/18/2022




women encumbering the same position. For that reason, Yant, which was highly

dependent on its unusual facts, is of limited relevance, and certainly does not stand

for the broad proposition for which Mr. Moore uses it.

      To the extent that Yant applies, the legal premise remains the same: a

complaint that on its face, demonstrates reasons for pay disparities that are not

based on sex, does not state an EPA claim. Here, Mr. Moore pleaded in his

complaint that: (1) the PTP was available to all agency employees; (2) the wage

gap with his alleged female comparators existed because they timely applied to

participate, and were accepted into the PTP, and received a recalibrated salary; and

(3) he did not apply to the PTP during its open period and did not receive a

recalibrated salary as a result. Thus, like Yant, Mr. Moore presents a factual

scenario that does not state a claim for which any relief can be granted because the

complaint plainly states that the reason for the wage difference was because of the

PTP; and not because of sex/gender. Appx002 ¶ 4-003 ¶¶ 5-8; Appx005 ¶ 14.

      Finally, Mr. Moore’s additional suggestion that Yant’s holding should be

restricted to “quasi-class action[s]”, App. Br. at 31-36; finds no support in the

EPA. See 29 U.S.C. § 206(d)(1).




                                          12
           Case: 22-1475     Document: 19      Page: 19   Filed: 07/18/2022




      E. Department of Labor And Equal Employment Opportunity Commission
         Regulations Do Not Represent Binding Or Persuasive Authority
      In Mr. Moore’s opening brief, he argues that the United States Department

of Labor (DOL) and Equal Employment Opportunity Commission (EEOC)

regulations indicate that a plaintiff needs only to plead a wage disparity, and not

that the reason for the wage gap was based on sex, in order to successfully plead an

EPA case. App. Br. at 12.

      However, the DOL regulations do not apply to the United States as

employer. Congress has directed that the Office of Personnel Management (OPM),

not the Department of Labor, shall promulgate regulations that govern the

application of the FLSA, including the EPA, to the Federal Government. 29

U.S.C. §§ 203(e)(2); 204(f). Moreover, as explained above, the allegations of the

complaint (and the undisputed facts) establish that the wage differential about

which Mr. Moore complains is not based upon sex, an elemental requirement

under the statute.

      Further, Title VII (to which the EEOC regulations implement) provides for

jurisdiction in a United States district court,” but not in this Court. 42 U.S.C. §

2000e–5(f)(3).” Thus, the EEOC regulations cannot serve as a binding or

persuasive authority in this Court, as OPM’s EPA regulations govern the

administration of the EPA to federal employees. 29 U.S.C. § 203(e)(2); 204(f).



                                          13
            Case: 22-1475    Document: 19     Page: 20   Filed: 07/18/2022




Consequently, the regulations cited by Mr. Moore, therefore, do not come into play

in this case.

III.   Mr. Moore Was Not Entitled To Discovery

       Mr. Moore alleges that his case should not have been dismissed and that he

was entitled to discovery because there are factual issues as to whether an

application to the PTP should have been necessary or whether the open PTP period

closing date should have been waived. App. Br. 31, 39. However, Mr. Moore

overlooks the requirement that his failure to state a claim for an EPA violation

mandated a dismissal of his complaint. Iqbal, 556 U.S. at 678 (internal quotations

omitted).

       Specifically, he fails to allege that the agency’s resume requirement

discriminated against him based on his sex/gender, or that the alleged comparators

who were admitted into the program were admitted because of their sex/gender.

See Appx001-010. Viewing the allegations in the light most favorable to Mr.

Moore, his EPA claim does not plausibly state grounds for relief for a violation of

the EPA. See Twombly, 550 U.S. at 559 (There must be a “reasonably founded

hope that the [discovery] process will reveal relevant evidence” sufficient to

support a claim that the wage gap was at least based on sex. (internal citations

omitted)). Therefore, any discovery that he might allowed to conduct would not

advance his EPA claim. In other words, he neither alleges facts nor identifies a


                                         14
           Case: 22-1475     Document: 19      Page: 21    Filed: 07/18/2022




legal theory that would entitle him to relief for these alleged deficiencies in the

program, and more important, he does not allege that these asserted deficiencies

were based on sex; he alleges that the complained of wage differential was not

based on sex, and no amount of discovery to prove those allegations will support

an EPA claim.

      Thus, there is no plausible likelihood that he could successfully prove that

the reason that his pay was less than his alleged female comparators is because of

his sex/gender; an EPA requirement. Consequently, Mr. Moore’s failure to allege

facts to support an EPA violation requirement mandates the dismissal of his case.

Iqbal, 556 U.S. at 678. Accordingly, discovery was not warranted.

                                   CONCLUSION

      For these reasons, we respectfully request that the Court affirm the trial

court’s decision.


                                                Respectfully submitted,

                                                BRIAN M. BOYNTON
                                                Principal Deputy Assistant Attorney
                                                General

                                                PATRICIA M. McCARTHY
                                                Director

                                                /s/ Reginald T. Blades, Jr.
                                                REGINALD T. BLADES, Jr.
                                                Assistant Director

                                          15
         Case: 22-1475   Document: 19    Page: 22   Filed: 07/18/2022




                                          /s/ Rafique O. Anderson
                                          RAFIQUE O. ANDERSON
                                          Trial Attorney
                                          Commercial Litigation Branch
                                          Civil Division
                                          Department of Justice
                                          P.O. Box 480
                                          Ben Franklin Station
                                          Washington, DC 20044
                                          Tel: (202) 305-3274
                                          Fax: (202) 514-7965
                                          Rafique.Anderson@usdoj.gov

July 15, 2022                             Attorneys for defendants




                                    16
          Case: 22-1475     Document: 19     Page: 23   Filed: 07/18/2022




                          CERTIFICATE OF SERVICE

     I HEREBY CERTIFY that on July 18, 2022, a copy of the foregoing

Corrected Response Brief For Defendant-Appellee United States was

electronically filed with the Clerk of the Court for the United States Court of

Appeals for the Federal Circuit, using the Court’s CM/ECF system.




                                               /s/ Rafique O. Anderson
                                                       Trial Attorney




                                        17
          Case: 22-1475     Document: 19     Page: 24     Filed: 07/18/2022




                      CERTIFICATE OF COMPLIANCE

      Pursuant to Fed. R. App. P. 32(a)(7)(C) and Fed. Cir. R. 28(a)(13), the

undersigned counsel hereby certifies that:

      This brief complies with the type-volume limitation of Rule 32(a)(7)

because it contains 3,516 words, excluding the parts of the brief excepted by Fed.

R. App. P. 32(a)(7)(B)(iii) and Fed. Cir. R. 32(b); and

      This brief complies with the typeface requirements of Fed. R. App. P.

32(a)(5) and the type style requirements of Fed. R. App. P. 32(a)(6) because it has

been prepared in a monospaced typeface using Microsoft Word, Times New

Roman, in 14-point font.


                                                    /s/ Rafique O. Anderson




                                        18
